Case 2:04-cv-02864-.]DB-dkv Document 10 Filed 07/14/05 Page 1 of 2 Page|D 4

IN THE UNITED sTATEs DISTRICT coURT FoR THE F"‘ED BY _ .__. D.c.
wEsTERN DISTRICT oF TENNESSEE

 

wEsTERN DIvIsION DS.RM |h hH¢g:UD
THUMLSH,
UNITED sTATES oF AMERICA, CL‘RK l § h rd"m-WCOUF?T

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Q§§MMB

Plaintiff,

Civil NO. 04-2864-B
_v_

SIX THOUSAND SIX HUNDRED FIFTY DOLLARS
($6, 650. 00) in United States Currency,

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Defendants.

 

DEFAULT

 

Upon the request and affidavit of the plaintiff, United States
Of America, filed July 13, 20051r DEFAULT IS HEREBY ENTERED
against the named defendant, Six Thousand Six Hundred Fifty Dollars
($6,650.00) in United States Currency, pursuant to FRCvP 55(a).

In accordance to FRCvP 4, service of process Was executed
against the defendant property on December 29, 2004.

For good cause shown, the court may set aside this entry for
default, pursuant to Rule 55(c).

Entered this 14th day of July, 2005.

THOMAS M. GOULD,
Clerk of Court

BY:
Deputy Clerk p“mwe
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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 10 in
case 2:04-CV-02864 Was distributed by faX, mail, or direct printing on
July ]4, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

